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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION


             UNITED STATES OF AMERICA          :
                                               :
                                               :     CRIMINAL ACTION NO.
                                               :
                         v.                    :     1:14-CR-344-2-WSD-ECS
                                               :
                                               :
             HUDHAYFAH ABDULLAH,               :
                                               :
                  Defendants.                  :


                                    REPORT AND RECOMMENDATION
                                     OF THE MAGISTRATE JUDGE

                                                I.
                                           Introduction

                  This matter is before the Court on the motion of Defendant

             Hudhayfah Abdullah “for relief from improper joinder.” [Doc. 245].

             Defendant moves the Court to sever Counts 31 through 59, and Count

             62, from the trial of the other counts of the indictment. Id.

             Defendant   argues   that   the   counts   sought   to   be   severed   were

             improperly joined under Rule 8(b) of the Federal Rules of Criminal

             Procedure. Id. at 2-3. The government opposes the motion, arguing

             that the counts are properly joined “because there is a relationship

             among the offenses.” [Doc. 288 at 5].

                                                II.
                                           The Arguments




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                    The   indictment    in     this    matter   is    in   sixty-two    counts.

             Defendant, Hudyahfah Abdullah, is charged in Counts 1, 2, 10, 11,

             12, 13, 14, 16, 17, 18, 19, 26, 27, 28, 29, and 61. Count 1 charges

             17 defendants, including Defendant, in a conspiracy to steal and

             cash United States Treasury checks, sometimes using counterfeit

             identification. [Doc. 1 at 2-21]. This conspiracy is alleged to have

             begun no later than June of 2012 and continued through the date of

             the indictment in September of 2014. [Id. at 2]. Counts 2 through 19

             allege substantive counts related to the Treasury check cashing

             conspiracy, and Defendant is named in certain of these counts. [Id.

             at 21-24]. Counts 20 through 30 allege aggravated identity theft

             associated with specific counts of the Treasury check cashing

             conspiracy, naming Defendant in certain of these counts as well.

             [Id. at 24-25].

                    Count 31 sets forth a separate conspiracy count against three

             defendants. Only one of these three defendants, Hussain Abdullah, is

             named in any of the Treasury check cashing counts. [Id. at 25-30].

             Count 31 alleges that the three defendants were engaged in a

             conspiracy to commit access device fraud. [Id.]. The fraud is

             alleged to involve the fraudulent use of store credit cards at Sam’s

             Club   and   Walmart,     which    also    involve      the   use   of   fraudulent

             identification documents. [Id.]. This conspiracy is alleged to have

             begun in April 2011 and continued through about November 2011. [Id.

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             at 25]. Counts 32 through 45 set forth substantive counts of access

             device fraud against the same three defendants related to the Sam’s

             Club and Walmart fraudulent credit card conspiracy. [Id. at 30-32].

             Counts   46   through   59   allege   substantive   counts   of    aggravated

             identity theft also against the same three defendants and related to

             the Sam’s Club and Walmart-related charges. [Id. at 32-33]. Count 62

             is a conspiracy count naming Hussain Abdullah as conspiring to

             commit   robbery   by    force   from     individuals   involved    in   drug

             trafficking. [Id. at 35].

                  Defendant is not named in Counts 31, 32 through 45, 46 through

             59, or 62.1 Defendant argues that the counts that involve the three

             defendants that relate to the Sam’s Club and Walmart credit card

             fraud, and the Hobbs Act robbery charge in Count 62, should be

             severed and not tried with the remaining counts. His argument is

             that joinder is improper under Rule 8(b), requiring severance. He

             submits that the Walmart and Sam’s Club Counts and the Hobbs Act

             Count are separate charges not brought against Defendant that are

             not part of the same acts or transactions charged against Defendant,

             nor are they part of the same series of transactions, constituting

             an offense or offenses. [Doc. 245 at 2-3]. He relies heavily on


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                       The joinder of Counts 60 and 61 are not challenged in
             Defendant’s motion. Count 60 charges misuse of a passport by a
             defendant in the Treasury check counts, and Count 61 charges
             Defendant with lying on a firearms purchase form. [Doc. 1 at 34-35].

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             United States v.     Weaver, 905 F.2d 1466, 1476 (11th Cir. 1990),

             cert. denied, 498 U.S. 1091, 111 S. Ct. 972 (1991).

                  The government’s argument boils down to the contention, based

             in part upon a proffer, that joinder is proper because the two

             conspiracy counts (and related substantive counts) share a common

             defendant, Asad Abdullah, “and arise from a common profit motive.”

             [Doc. 288 at 3-4]. More particularly, the government argues that

             there is a connection because the nature and execution of the

             schemes alleged in the indictment are similar, in that identity

             fraud was used to facilitate the check fraud and the credit card

             fraud. The government submits that, at trial, the evidence will show

             that Asad Abdullah, the only common defendant, was the “designer,

             organizer, and/or leader of both fraud schemes.” [Id. at 5]. The

             government also asserts that the conspiracies are related because

             they “had a common criminal objective, ... namely to unlawfully

             obtain money for their own benefit.” [Id.]. The government cites

             United States v. Hill, 643 F.3d 807, 829 (11th Cir. 2011), in which

             the appeals court declined to reverse the trial court’s denial of

             severance where the conspiracies arose out of Hill’s master scheme

             to defraud mortgage lenders through a common plan and design. The

             government   also   submits   that   Defendant   cannot   show   compelling

             prejudice under Rule 14 sufficient to warrant severance under that

             rule. [Doc. 288 at 7].

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                                                III.
                                             Discussion

                  Rule 8(b) of the Federal Rules of Criminal Procedure governs

             joinder of defendants and provides:

                       (b) Joinder of Defendants. The indictment or information
                  may charge 2 or more defendants if they are alleged to have
                  participated in the same act or transaction, or in the same
                  series of acts or transactions, constituting an offense or
                  offenses. The defendants may be charged in one or more counts
                  together or separately. All defendants need not be charged in
                  each count.

                  “Joinder of parties and defendants under Rule 8 is designed to

             promote judicial economy and efficiency.” Weaver, 905 F.2d at 1476.

             “The question of whether initial joinder is proper under Rule 8(b)

             is to be determined before trial by examination by the trial court

             of the allegations stated on the face of the indictment.           However,

             whether joinder is improper based upon evidence proffered before or

             adduced during trial is governed by Rule 14.” Id. Thus, an appellate

             court must first look to the indictment to determine if initial

             joinder was proper under Rule 8(b). Id. “If improper joinder under

             Rule 8(b) occurred, reversal is not required if the misjoinder was

             harmless error.” Id. at 1477 (citing United States v. Lane, 474 U.S.

             438, 449, 106 S. Ct. 725, 732 (1986)).

                  “Although one of the goals of joinder is to promote judicial

             economy, a countervailing purpose of Rule 8(b) ‘is to prevent the

             cumulation of prejudice [growing out of] charging several defendants


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             with similar but unrelated offenses.’” Id. (citing United States v.

             Bova, 493 F.2d 33, 35 (5th Cir. 1974) (quoting Cupo v. United

             States, 359 F.2d 990, 993 (D.C. Cir. 1966), cert. denied, 385 U.S.

             1013, 87 S. Ct. 723 (1967))). As stated, Rule 8(b) permits joinder

             of defendants “if they are alleged to have participated in the same

             act or transaction, or in the same series of acts or transactions,

             constituting an offense or offenses.” “However, ‘when ... the

             connection between different groups is limited to a few individuals

             common to each but those individuals commit separate acts which

             involve them in separate offenses with no common aim, then the

             requisite substantial identity of facts or participants is not

             present.’” Weaver, 905 F.2d at 1477 (quoting United States v.

             Nettles, 570 F.2d 547, 551 (5th Cir. 1978)). And, “[w]hile criminal

             acts of several defendants may be similar in nature, these acts

             cannot be properly joined in a multiple defendant trial if different

             facts and circumstances must be established to support the alleged

             violations. But when the facts underlying each offense are so

             closely connected that proof of such facts is necessary to establish

             each offense, joinder of defendants and offenses is proper.” Id.

             (quoting United States v. Gentile, 495 F.2d 626, 630 (5th Cir.

             1974)).

                  In Weaver, the facts underlying the various acts relating to

             the marijuana conspiracy and to the cocaine conspiracy were not so

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             closely     connected    that   proof    of   such   facts   was   necessary   to

             establish each offense, nor was there a substantial identity of

             facts and participants involving similar acts in furtherance of a

             common plan. Id. at 1478. Thus, the two conspiracies were found to

             be separate and distinct transactions. As a result, initial joinder

             of the marijuana and cocaine conspiracies was held to be improper

             under Rule 8(b). Id.

                   In the instant case, the Treasury check conspiracy and its

             related offenses, and the Sam’s Club and Walmart conspiracy and its

             related offenses, are not so closely connected in proof that proof

             of common facts is necessary to establish each offense. Indeed, the

             government concedes that, because the two conspiracies are distinct

             in time, the government will likely present its evidence regarding

             the   two   schemes     separately,     the   Treasury   check     scheme   first,

             followed by the credit card scheme. [Doc. 288 at 9]. The government

             also concedes that the only witnesses who are likely to overlap are

             the government’s confidential informant and the case agent. Id.

                   Likewise, as in Weaver, there is no “substantial identity of

             ... participants” involving similar acts in furtherance of a common

             plan. 905 F.2d at 1470. While there is some similarity of the acts

             in the two conspiracies in the sense that both involve species of

             fraud facilitated in part by the use of fraudulent identification,

             the acts are different – one conspiracy involves the theft and

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             cashing   of   stolen   checks,      and   the   other   the    use   of   stolen

             identification information to manufacture credit cards, accompanied

             by the fraudulent use of the credit cards to obtain money.

                  As for a common aim or plan, the government argues that the two

             schemes shared a common objective, namely, “to unlawfully obtain

             money for their own benefit.” [Doc. 288 at 5]. The government cites

             United States v. Hill, 643 F.3d 807, 829 (11th Cir. 2011), for the

             proposition that the joinder of conspiracies is proper, even where

             the defendant is implicated in only one and different actors were

             used in the different conspiracies, where the charges arose from the

             lead defendant’s master scheme to defraud lenders through a common

             plan and design. [Doc. 288 at 5].

                  This case is different from Hill. The only common aim or plan

             alleged in the instant case is a general profit motive, presumably

             an aim or plan that would be present in virtually every fraud

             scheme. In Hill, on the other hand, it was clear from the evidence

             at trial that the three conspiracies were all part of an integrated

             master plan to facilitate the common aim of defrauding a series of

             banks and mortgage lenders, all related to the buying, financing,

             re-selling, and abandoning to foreclosure of properties acquired

             through the use of straw buyers, falsified appraisals, bribery, as

             well as complicit brokers and attorneys. 643 F.3d at 820-25. No such

             inter-connectedness     has   been    alleged    here    on   the   face   of   the

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             indictment or by the government in its proffer. As noted, the two

             schemes here are factually different.

                    Furthermore, the time frames are not overlapping, the Sam’s

             Club and Walmart conspiracies ending some nine months before the

             Treasury check conspiracy is alleged to have even commenced. There

             are no facts alleged in any way similar to those in Hill that would

             suggest    that      these   two   schemes,     even   though      sharing    a   common

             “designer, organizer, and/or leader,” were part of some over-

             arching, related plan, other than, of course, the general objective

             to obtain money by fraud. In that regard, United States v. Castro,

             829 F.2d 1038, 1045 (11th Cir. 1987), is instructive. There the

             Court found that, despite a similar illegal objective, broadly

             speaking, “to obtain cash,” the government failed to prove the

             necessary common objective among the charged conspirators, where

             “neither      [conspiracy]      depended       on,   was   aided    by   or   had   any

             operational interest in the success of the other conspiracy.” Id.

             (finding joinder improper). The same situation is presented in the

             instant case.

                    As for prejudice, the government argues that Defendant cannot

             show compelling prejudice sufficient to justify severance under Rule

             14. But the first determination to be made is whether the counts are

             properly joinable under Rule 8(b). Here I conclude that they are

             not,    for    the    reasons      discussed     above,    even     considering     the

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             government’s proffer about what the evidence will show. See United

             States v. Dominguez, 226 F.3d 1235, 1241 (11th Cir. 2000) (Court

             should consider government proffer when faced with Rule 8 motion).

             And it is significant that this matter is before the Court prior to

             trial, not on appeal, and before any evidence has actually been

             presented that can be evaluated as to actual prejudice. Here, this

             Defendant   has   been   named   in   one   conspiracy   and   a   number   of

             substantive counts but is not named in the other. Trial of both

             conspiracies will result in the presentation of evidence of a

             temporally and factually distinct fraud conspiracy unrelated to the

             allegations against Defendant but involving one common defendant who

             happens to be Defendant’s brother. Although the jury could, as the

             government asserts, be instructed that the evidence must be properly

             considered only against the defendants charged in each respective

             count, some spillover effect would seem to be inevitable and unfair

             to Defendant. On the other hand, the government has not shown that

             trying the case with potentially all 19 defendants in one trial will

             be economical, as opposed to confusing and unwieldy. As a result, I

             would give some credit to Defendant on the issue of prejudice.

                  In summary, I conclude that joinder of the Sam’s Club and

             Walmart conspiracy and related allegations with the remainder of the

             charges in the indictment would be improper under Rule 8(b), and

             recommend that Counts 31 through 59 be severed for separate trial,

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             even considering the government’s proffer and their arguments of no

             prejudice.

                  As for count 62, it should also be severed. Count 62 is brought

             against Hussain Abdullah for conspiracy to take property by force,

             violence and intimidation, said property consisting of illegal drugs

             and proceeds from drug trafficking, in violation of 18 U.S.C.

             § 1951(a), allegedly beginning on July 17, 2014, and continuing

             until July 25, 2014. Hussain Abdullah is also named as a co-

             conspirator in Count 1 with Defendant, and in additional substantive

             counts of theft and aggravated identity theft related thereto,

             including six counts jointly with Defendant. See [Doc. 1, Counts 1,

             12, 16, 17, 18, 19, 27].

                  The government’s response to the motion as to Hussein is the

             same as to the other counts – severance should be denied because

             this count arose from the Abdullah brothers’ common scheme or plan

             to unlawfully obtain money. But the joinder of this count suffers

             from the same infirmities as the joinder of the other counts.

             Robbery related to drug trafficking has nothing on its face to do

             with the other counts related to Treasury check theft and fraud and

             identify theft. The offenses are not the same or similar and the

             government has shown no connection between them except an alleged

             generalized common scheme or plan to unlawfully obtain money. This

             proffer has been discussed above and found lacking. Accordingly, I

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             conclude that joinder under Rule 8(b) is improper and that Defendant

             would suffer prejudice and taint from being joined in multiple

             counts with a co-defendant who has also been charged with such a

             violent crime. I do not, however, feel as strongly about the ability

             of the Court adequately to counteract any undue prejudice through

             the use of appropriate instructions.

                                                IV.
                                            Conclusion

                     To conclude, the undersigned RECOMMENDS that the motion for

             relief from improper joinder, [Doc. 245], be GRANTED, and that

             Counts 31 through 59 and Count 62 be severed from the trial of the

             remaining counts.

                         SO REPORTED and RECOMMENDED, this 10th day of February,

             2015.

                                              S/ E. Clayton Scofield III
                                              E. CLAYTON SCOFIELD III
                                              UNITED STATES MAGISTRATE JUDGE




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